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                          UNITED STATES BANKRUPTCY COURT

                                       DISTRICT OF IDAHO

 In re:                                            Case No. 19-40057-JMM

 TIMOTHY D. SEMONES and SUSAN C.                   Chapter 11
 DESKO,

                            Debtor.



                            ORDER CLOSING CHAPTER 11 CASE
          This matter having come before the Court based upon the Debtors-in-Possession’s Motion

 to Close Case pursuant to Rule 3022 of the Federal Rules of Bankruptcy Procedure filed May 28,

 2021, (Docket No. 208); the Court having reviewed the Motion and no objection to the Motion

 having been filed, and good cause appearing therefore;


          IT IS HEREBY ORDERED that this Chapter 11 bankruptcy proceeding is closed.



                                        DATED: June 29, 2021



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                                        JOSEPH M. MEIER
                                        CHIEF U. S. BANKRUPTCY JUDGE




 Order submitted by:

 Matthew T. Christensen
 Attorney for Debtors
